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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

HYTTO PTE. LTD. (d/b/a “Lovense”),       )
                                         )
          Plaintiff,                     )
                                         )
     v.                                  )                    Case No. 1:23-cv-15369
                                         )
THE PARTNERSHIPS and UNINCORPORATED      )                    Jury Trial Demanded
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A,” )
                                         )
          Defendants.                    )
                                         )

                          PLAINTIFF’S NOTICE OF VOLUNTARY
                            DISMISSAL AS TO DEFENDANT 77

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Hytto Pte. Ltd.

(“Lovense” or “Plaintiff”) hereby dismisses with prejudice all causes of action in the complaint as

to the Defendant identified below and in Schedule A. No motions are pending relative to this

Defendant. Each party shall bear its own attorney’s fees and costs.

                   Defendant No.              Defendant Name
                   77 (eBay)                  roseportant

       The respective Defendant has not filed an answer to the complaint or a motion for summary

judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1)

is appropriate.


Dated: February 1, 2024                           /s/ Nicholas A. Kurk
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                                                  Nicholas A. Kurk
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